Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3171 Page 1 of 19



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   8                       UNITED STATES DISTRICT COURT
   9                    SOUTHERN DISTRICT OF CALIFORNIA
  10 MICHAEL BLOOM, STEPHEN                   )   Case No. 17cv2324 AJB MSB
       CHATZKY, TONY DIAZ, VALERIE            )
  11   GRISCHY, PENNY HELMS,                  )   DEFENDANT CITY OF SAN
       BENJAMIN HERNANDEZ, DOUG               )   DIEGO’S MEMORANDUM OF
  12   HIGGINS, SUZONNE KEITH, DAVID          )   POINTS & AUTHORITIES IN
       WILSON, ANNA STARK, GERALD             )   OPPOSITION TO PLAINTIFFS’
  13   STARK, individually and on behalf of   )   EX PARTE MOTION FOR
       themselves and all others similarly    )   TEMPORARY RESTRAINING
  14   situated,                              )   ORDER
                                              )
  15              Plaintiffs,                 )
                                              )
  16        v.                                )
                                              )   Judge: Hon. Anthony   J. Battaglia
  17 CITY OF SAN DIEGO,                       )   Courtroom: 4A (4th floor)
                                              )
  18              Defendants.                 )
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Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3172 Page 2 of 19



   1                                 TABLE OF CONTENTS
   2   I.     INTRODUCTION……………………………………………………………1
   3
       II.    RELEVANT PROCEDURAL AND FACTUAL BACKGROUND………..1
   4

   5   III.   PLAINTIFFS HAVE NOT MET THEIR BURDEN UNDER EITHER
   6
              THE TRADITIONAL OR SLIDING-SCALE TESTS……………………...4
   7
              A. The new VHO and the Nighttime RV Ordinance are Constitutional…….4
   8
              B. The new VHO Was Enacted to Curb the Problematic Aspects of
   9
              Vehicle Habitation, Not Punish Homelessness, and an Order Restraining
  10          the Enforcement of the new VHO Would Not Be in the Public Interest…….8
  11
              C. The Safe Lots Provide a Reasonable Alternative to the Plaintiffs and
  12             Plaintiffs Have Not Established that The Lots Cannot Accommodate
                 Them…………………………………………………………………….10
  13

  14          D. The Request to Compel the City to Open Public Parking Lots
                 Will Force the City to Violate County Health Orders………………….12
  15
       IV.    CONCLUSION……………………………………………………………..14
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26
  27

  28

                                              i
                                                                        17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3173 Page 3 of 19



   1                                                     TABLE OF AUTHORITIES
   2   Cases
   3   Alliance for Wild Rockies v. Cottrell,
           632 F3d 1127, 1131 (9th Cir. 2011).............................................................................. 10
   4   American Passage Media Corp. v. Cass Communications, Inc.,
   5       750 F.2d 1470, 1473 (9th Cir. 1985)............................................................................. 11
       Amoco Production Co. v. Gambell,
   6        480 U.S. 531 542 (1987) ................................................................................................ 8
   7   Caribbean Marine Services Co., Inc. v. Baldrige,
            844 F.2d at 677 ............................................................................................................... 8
   8   City of Los Angeles v. Lyons,
   9     461 U.S. 95, 102 (1983) .................................................................................................. 10
       Dahl v. HEM Pharmaceuticals Corp.,
  10       7 F. 3d 1399, 1403 (9th Cir. 1993)................................................................................ 14
  11   Garcia v. Google, Inc.,
         786 F.3d 733, 740 (9th Cir. 2015)..................................................................................... 4
  12   Henschen v. City of Houston,
  13     959 F.2d 584, 588 (5th Cir.1992)...................................................................................... 9
       Id. at 24 ................................................................................................................................. 8
  14   In re Estate of Ferdinand Marcos Human Rights Litig.,
  15     94 F. 3d 539, 545 (9th Cir. 1996).................................................................................... 13
  16   Joyce v. City and County of San Francisco,
           846 F. Supp. 843, 850 (N.D. Cal. 1994) ....................................................................... 12
  17   League of Wilderness Defenders/Blue Mountains Biodiversity Project v. Connaughton,
            752 F3d 755, 766 (9th Cir. 2014)................................................................................... 8
  18   Machete Productions, L.L.C. v. Page,
  19        809 F.3d 281, 288 (5th Cir. 2015).................................................................................. 9
       Maryland v. King,
  20     567 U.S. 1301, 133 S. Ct. 1, 3 (2012) ........................................................................... 1, 8
  21   Mazurek v. Armstrong,
         520 U.S. 968, 972 (1997) .................................................................................................. 1
  22   Munns v. Kerry,
         782 F3d 402, 411 (9th Cir. 2015).................................................................................... 10
  23   Network Corp. v. Federal Communications Commission,
  24        653 F. 3d 771, 776 (9th Cir. 2011)................................................................................. 4
       Rizzo v. Goode,
  25     423 U.S. 362, 379 (1976) .................................................................................................. 8
  26   Robinswood Community Club v. Volpe,
            506 F. 2d 1366, 1368 (9th Cir. 1974)............................................................................. 5
  27   Rodriguez v. Dzurenda,
         2018 WL 7822062 (D. Nevada Dec. 17, 2018) .............................................................. 10
  28

                                                                            ii
                                                                                                                           17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3174 Page 4 of 19



   1    Schmidt v. Lessard,
          414 U.S. 473, 476 (1974) ................................................................................................ 12
   2    Sid Berk, Inc. v. Uniroyal, Inc.,
   3      425 F. Supp. at 29 ............................................................................................................. 5
   4    Towery v. Brewer,
          672 F. 3d 650, 657 (9th Cir. 2012).................................................................................... 4
   5    United States v. First Nat’l City Bank,
            379 U.S. 378, 383 (1965) ............................................................................................... 8
   6    VIP of Berlin, LLC v. Town of Berlin,
   7        593 F.3d 179, 185-186 (2nd Cir. 2010) ......................................................................... 9
        Weinberger v. Barcelo,
   8        456 U.S. 305, 312-313 (1982)........................................................................................ 8
   9    Winter v. Natural Resources Defense Council, Inc.,
            555 U.S. at 20 ................................................................................................................. 8
  10    Winter v. Natural Resources Defense Council, Inc.,
          555 U.S. 7, 22, (2008) ................................................................................................... 1, 4
  11    Winter v. Natural Resources Defense Council, Inc.,
  12      supra, 555 U.S. at 22 ....................................................................................................... 10
  13
        Statutes
  14    SDMC § 86.0137 .............................................................................................................................. 6
  15

  16 Other Authorities
     Nighttime RV Ordinance ...................................................................................................... 4
  17 Old Vehicle Habitation Ordinance ....................................................................................... 6

  18 Oversized Vehicle Ordinance (“OVO”) ................................................................... 1, 5, 6, 7

  19 Vehicle Habitation Ordinance (“VHO”) ...................................................................... 2, 5, 9

  20 Rules
  21 Fed. R. Civ. P. 65(d)(B)-(C) ............................................................................................... 12

  22
     Federal Rule of Civil Procedure 65, subdivision (d) .......................................................... 13

  23

  24

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                                                                              iii
                                                                                                                              17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3175 Page 5 of 19



   1      I.       INTRODUCTION
   2            Plaintiffs’ Emergency Motion for a Temporary Restraining Order fails to
   3   meet the extremely high burden required for this extraordinary remedy, one that
   4   would impact the health and safety of all San Diego residents. Plaintiffs’ requests,
   5   which include a mandatory injunction to open beach parking lots in contravention
   6   of County Health Department mandates, would work a form of irreparable injury by
   7   enjoining an ordinance enacted by representatives of the people. See, Maryland v.
   8   King, 567 U.S. 1301, 133 S. Ct. 1, 3 (2012). This ordinance, whose purpose is to
   9   ensure the health and safety of all citizens, would be enjoined at a time when City
  10   resources are consumed with responding to a public health emergency. Moreover,
  11   Plaintiffs’ motion is moot in light of the extensive efforts already in place by the
  12   City of San Diego to create an unprecedented level of services and protection
  13   during the SARS-CoV-2 pandemic. See, Mazurek v. Armstrong, 520 U.S. 968, 972
  14   (1997) (the “clear showing” requirement is particularly strong when a party seeks a
  15   TRO, referring the rule in Winter v. Natural Resources Defense Council, Inc., 555
  16   U.S. 7, 22, (2008) that a preliminary injunction is an “extraordinary remedy that
  17   may only be awarded upon a clear showing that the plaintiff is entitled to such
  18   relief.”) For these reasons, Plaintiffs’ motion should be denied.
  19      II.      RELEVANT PROCEDURAL AND FACTUAL BACKGROUND
  20            The City of San Diego (the “City”) continues to respond to the needs of
  21   homeless individuals by providing social services, expanding alternative shelter and
  22   safe lot options, and promoting the development of affordable housing. The City is
  23   simultaneously working to meet its obligation to maintain public health and
  24   respond to safety concerns created by the unregulated, widespread, long-term
  25   habitation in vehicles, along with the dangers posed by the extended parking of
  26   oversized vehicles in certain areas. The City enacted the Oversized Vehicle
  27   Ordinance (“OVO”) to mitigate the dangers large vehicles pose to pedestrians and
  28   drivers who cannot see around them, among other issues. The City enacted the
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                                                                               17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3176 Page 6 of 19



   1   Vehicle Habitation Ordinance (“VHO”) to maintain safe and sanitary
   2   neighborhoods for all individuals, including the homeless population.
   3         The City has expanded services for homeless individuals, generally, and in
   4   particular, for homeless individuals residing in vehicles, including in the two years
   5   since this lawsuit was filed. As more fully detailed in Defendant’s Opposition to the
   6   Plaintiffs’ Motion to File a Second Amended Complaint, which is already on file
   7   with this Court, the City funds three centrally located safe parking lots with
   8   supportive services such as food assistance, employment development, emergency
   9   support, benefits access, and asset building. (See ECF #103-3, Marni von Wilpert’s
  10   Decl. in Support of City’s Opp’n. to Plaintiffs’ Mot. for Leave to File a Second
  11   Am. Compl., Ex. B (“von-Wilpert Decl.”)). The safe parking program is run by
  12   social services experts at JFS who possess the education, training, and experience to
  13   help the unhoused.
  14         Since the new vehicle habitation ordinance was enacted as an emergency
  15   ordinance on May 14, 2019, the San Diego Police Department (SDPD) has
  16   maintained a posture of education and referral to services, rather than aggressive
  17   enforcement. SDPD has adopted a progressive enforcement model to provide
  18   warnings and education to various groups of individuals who may be contacted for
  19   vehicle habitation on city streets, including tourists, campers, and people
  20   experiencing homelessness. In addition, on August 22, 2019, the City’s Treasurer’s
  21   Office and City Attorney’s Office partnered with the San Diego County Public
  22   Defender to expand the City’s Clean License Plates Program (Clean Plates) and
  23   low-income payment program for parking tickets to provide additional options and
  24   relief to a greater number of homeless individuals. (See ECF #103-5, von-Wilpert
  25   Decl., Ex. D; see also, ECF #103-16, DeeDee Alari’s Decl. in Support of City’s
  26   Opp’n. to Plaintiffs’ Mot. for Leave to File a Second Am. Compl., Ex. A (Alari’s
  27   Decl.)).
  28   ///

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                                                                               17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3177 Page 7 of 19



   1         In the wake of the SARS-CoV-2 pandemic, City employees have worked
   2   long hours to provide medical care, social services, hygiene, sanitation, and
   3   physical distancing to those experiencing homelessness. In addition to the Safe
   4   Lots, the City has joined forces with the County of San Diego, the Regional Task
   5   Force on the Homeless and San Diego Housing Commission came together to
   6   establish a Homeless Operations Branch under the City's Emergency Operations
   7   Center (EOC) to coordinate the needs, resources and logistics of homeless service
   8   operations. See, https://www.sandiego.gov/coronavirus/homelessness. Recognizing
   9   that traditional shelters would not allow for sufficient social distancing, the City of
  10   San Diego opened Golden Hall and then the Convention Center to allow for
  11   physical distancing according to CDC guidelines. In this Homeless to Home
  12   Program, clients are provided food, sanitation, access to healthcare, and testing for
  13   Coronavirus infection, and immediate isolation and medical attention if an
  14   individual tests positive. See, Declaration of Lilys McCoy, and Exhibits thereto.
  15         But, contrary to the implications in the Plaintiffs’ Motion, the City is not
  16   forcing those who live in their cars into congregate shelters. Instead, the City has
  17   empowered its safe lot service provider to move its Mission Valley Safe Lot to the
  18   SDCCC Stadium parking lot to increase capacity and distancing. See, Declaration
  19   of Sarah Jarman and Exhibit 1 attached thereto. Since the state of emergency was
  20   declared, JFS has also increased the amount and type of services provided. Cars are
  21   to park a minimum of one space apart; clients have 24/7 access to two of the three
  22   safe lots and can come and go as needed. In addition, people who avail themselves
  23   of the safe lots are provided three meals each day, bathrooms, showers,
  24   handwashing stations, free face coverings, bags of canned food and non-perishable
  25   items, hand-sanitizer, bottled water for each family member, bottled water for pets,
  26   daily check-ins to screen for symptoms, support in connecting with healthcare
  27   providers, and isolation areas for anyone experiencing Covid-19 symptoms. See,
  28   Declaration of Sarah Jarman and Exhibit 1 attached thereto. Staff are following
                                                  3
                                                                                17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3178 Page 8 of 19



   1   social distancing requirements at all times use face coverings. And, as of May 1,
   2   cloth face coverings were given to all clients with the requirement that they be worn
   3   when outside their vehicles1. And the services are regularly calibrated and
   4   augmented to keep pace with this fast-moving and oft-changing public emergency.
   5   As an example of this, JFS is currently evaluating how to provide clients with
   6   internet service at all three of its City funded locations before the end of May. See,
   7   Declaration of Sarah Jarman and Exhibit 1 attached thereto.
   8      III.    PLAINTIFFS HAVE NOT MET THEIR BURDEN UNDER
   9              EITHER THE TRADITIONAL OR SLIDING-SCALE TESTS
  10          Plaintiffs must show four elements: that that they are likely to succeed on the
  11   merits, that they are likely to suffer irreparable harm in the absence of preliminary
  12   relief, that the balance of equities tips in their favor, and that an injunction is in the
  13   public interest. Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20
  14   (2008). Plaintiffs have argued that they are entitled to a sliding-scale approach to
  15   the factors elucidated in Winter. But, even with the sliding scale approach, plaintiffs
  16   must carry their burden of persuasion via a clear showing on each element. Towery
  17   v. Brewer, 672 F. 3d 650, 657 (9th Cir. 2012); See, also, Network Corp. v. Federal
  18   Communications Commission, 653 F. 3d 771, 776 (9th Cir. 2011). Under both the
  19   traditional rubric, and the sliding-scale approach, Plaintiffs’ Motion fails to meet
  20   the exacting standard of an emergency TRO.
  21      A. The new VHO and the Nighttime RV Ordinance are Constitutional
  22      The Ninth Circuit has held that “[th]e first factor under Winter is the most
  23   important – likely success on the merits.” Garcia v. Google, Inc., 786 F.3d 733,
  24   740 (9th Cir. 2015). A party seeking a preliminary injunction must “demonstrate a
  25

  26           1 Plaintiffs refer to the safe lots using quotation marks to imply that the lots are not safe,
       but the safe lots have hundreds of clients, some in family groups, each week who are safely taking
  27   advantage of these services. Such characterization borders on being disrespectful to the thoughtful
       and dedicated social services professionals who work daily to help those looking for services at
  28   those lots.

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                                                                                           17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3179 Page 9 of 19



   1   strong likelihood or reasonable certainty that it will prevail on the merits.”
   2   Robinswood Community Club v. Volpe, 506 F. 2d 1366, 1368 (9th Cir. 1974). “The
   3   existence of any debate or doubts on the record as to the merits of the claim or the
   4   power of the court to act will ordinarily bar the granting of a preliminary
   5   injunction.” Sid Berk, Inc. v. Uniroyal, Inc., 425 F. Supp. at 29 (emphasis added).
   6   With a strong health and safety legislative purpose behind the new VHO and the
   7   OVO, and with the safe lots program as a reasonable accommodation, Plaintiffs
   8   cannot meet their burden of showing they have a strong likelihood or reasonable
   9   certainty that they will prevail on the merits.
  10      The City immediately ceased enforcement of its original vehicle habitation
  11   ordinance after this Court issued its preliminary injunction on August 21, 2018.
  12   (See, ECF #44.) The San Diego City Council repealed its original vehicle habitation
  13   ordinance on February 25, 2019. In the ensuing months after the repeal, the City
  14   was flooded with phone calls, emails, pictures and videos from San Diego residents
  15   concerned about the public health and safety effects of the repeal. (See ECF #103-
  16   12, Robert A. Vacchi’s Decl. in Support of City’s Opp’n. to Plaintiffs’ Mot. for
  17   Leave to File a Second Am. Compl., Ex. B, p. 3 (Vacchi Decl.). In some cases, the
  18   City received reports of new “Van-BnB” listings that emerged, advertising to
  19   tourists who want to visit San Diego and avoid renting hotel rooms by instead
  20   renting out vans or RVs to sleep on city streets overnight – often in residential
  21   neighborhoods. In other cases, the City received reports of an influx in individuals
  22   pursuing the “van-life movement,” which appears to appeal to young adults living
  23   in converted vehicles such as ambulances and school buses outfitted for habitation,
  24   travel, and recreation. Indeed, the Instagram Account for the “#Vanlife Movement”
  25   had over 4.8 million posts at that time, including some titled “Van Life Guide to
  26   San Diego” that advertised San Diego as a prime location for van-life visitors
  27   wishing to park and live in converted vehicles on city streets. (See ECF #103-12,
  28   Vacchi Decl., Ex. B.) Unfortunately, as this was occurring the City received
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                                                                                17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3180 Page 10 of 19



   1   increasing reports that some people living in vehicles were urinating and defecating
   2   on sidewalks and accumulating trash (since most vehicles do not have bathrooms
   3   and trash receptacles). (See ECF #10312, Vacchi Decl., Ex. B). Some individuals
   4   living in vehicles were causing excessive and persistent noise, leaving trash and
   5   human waste around the vehicles, blocking portions of streets and sidewalks with
   6   temporary furnishings and personal items, and crowding out parking for residents
   7   and businesses. (See ECF #103-11, Vacchi Decl., Ex. A). Calls to the City for
   8   service to address incidents related to vehicle habitation rose significantly after the
   9   repeal. (See ECF #103-12, Vacchi Decl., Ex. B).
  10         To address these parking, health, and safety issues that arose in the months
  11   after the repeal, the City Council enacted a new and significantly different vehicle
  12   habitation ordinance as an emergency ordinance on May 14, 2019. To comply with
  13   the Court’s order (ECF #44), the City amended the Old Vehicle Habitation
  14   Ordinance to provide clear direction in its enforcement and sufficient notice to San
  15   Diego citizens. San Diego Municipal Code Section 86.0137 now defines evidence
  16   of human habitation, the time of enforcement, and areas where vehicles cannot be
  17   inhabited during all hours of the day. These definitions provide sufficient notice and
  18   ensure adequate due process to San Diego citizens. The legislative purpose behind
  19   the new VHO is to "balanc[e] the needs of those individuals who inhabit their
  20   vehicles and the needs of all City residents, businesses, and visitors for clean,
  21   healthy, and safe public areas." See, page 4, Recitals, Ordinance 21071 dated May
  22   14, 2019. In addition, the City specifically stated that its intent was not to prosecute
  23   or regulate homelessness. See, Id., page 3. Declaration of Lilys McCoy, page 2,
  24   paragraph 6 and exhibit referenced therein.
  25         In enacting amendments to the OVO in 2016, the legislative history stated
  26   that the City’s goals or objectives in passing the ordinance is to protect lives,
  27   property and the environment and reduce and prevent crime. (Council Action
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                                                                                17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3181 Page 11 of 19



   1   Executive Summary Sheet, dated March 24, 2016; Exhibit 3, at p. 2.) It was noted
   2   that:
   3           The regulations set forth in this ordinance significantly enhance the
   4           safety and livability of San Diego’s neighborhoods. The unregulated
               parking of oversized vehicles, non-motorized vehicles, and
   5           recreational vehicles on public streets and in public parking lots
   6           detracts from a healthy and safe environment by causing the
               deterioration of air quality, safety, tranquility, aesthetics and other
   7           similar values.
   8           Certain neighborhoods and areas of the City do not have sufficient on
               or off-street space to accommodate the convenient parking of
   9           oversized vehicles, non-motorized vehicles, and recreational vehicles.
  10           Residents are adversely affected by transient populations who park
               these types of vehicles overnight in residential neighborhoods. The
  11           parking of such vehicles, especially by non-residents, creates serious
  12           adverse effects in many areas and neighborhoods of the City of San
               Diego.
  13

  14           (Council Action Executive Summary Sheet, dated March 24, 2016; Exhibit 3
  15   to ECF 31, at p. 3, previously filed with this Court.) Further, in October 2012,
  16   when bringing this issue to the attention of the City Council’s Land Use and
  17   Housing Committee, then Council President Pro Tem, and current Mayor, Kevin
  18   Faulconer, stated that community groups and citizens had contacted his office to
  19   complain of illegally parked oversized vehicles. (Memorandum Council President
  20   Pro Tem Kevin L. Faulconer, dated October 2, 2012, Exhibit 4, at p. 1 of ECF 31.)
  21           Moreover, when the City Council passed the 2016 amendments to the OVO,
  22   citizens supported it. Many sent emails to their elected officials urging support and
  23   expressed concern about crime, safety, littering, and the discharge of gray and black
  24   water (wastewater) from these vehicles into storm drains or along the curb line of
  25   City streets. (See, e.g., SB343 Emails, Exhibit 2 to ECF 31.)
  26   ///
  27   ///
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                                                                               17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3182 Page 12 of 19



   1      B. The new VHO Was Enacted to Curb the Problematic Aspects of Vehicle
   2         Habitation, Not Punish Homelessness, and an Order Restraining the
             Enforcement of the new VHO Would Not Be in the Public Interest
   3

   4      A party seeking a preliminary injunction must also demonstrate that an
   5   injunction is in the public interest. Winter v. Natural Resources Defense Council,
   6   Inc., 555 U.S. at 20. “‘In exercising their sound discretion, courts of equity should
   7   “pay particular regard for the public consequences in employing the extraordinary
   8   remedy of injunction.’” Id. at 24 (quoting Amoco Production Co. v. Gambell, 480
   9   U.S. 531 542 (1987)). If the injunction goes beyond the parties, carrying with it a
  10   potential for public consequences, the “public interest” becomes relevant to whether
  11   an injunction should issue. United States v. First Nat’l City Bank, 379 U.S. 378,
  12   383 (1965). The “district court must always consider whether the public interest
  13   would be advanced or impaired by issuance of an injunction in any action in which
  14   the public interest is affected.” Caribbean Marine Services Co., Inc. v. Baldrige,
  15   844 F.2d at 677. Where the public interest is involved, the district court must decide
  16   whether the public interest favors the plaintiff, and where the public interest will be
  17   adversely affected, the court may deny relief, even where there may be a burden
  18   placed on the plaintiff. Weinberger v. Barcelo, 456 U.S. 305, 312-313 (1982). The
  19   Supreme Court, in evaluating a case where the plaintiffs sought an injunction
  20   against a city, its mayor and other city and police officials, stated that “principles of
  21   equity . . . militate heavily against the grant of an injunction except in the most
  22   extraordinary circumstances.” Rizzo v. Goode, 423 U.S. 362, 379 (1976)).
  23      The City contends that such a heightened standard is appropriate here where the
  24   moving parties seek to enjoin governmental action taken in the public interest
  25   pursuant to a statutory or regulatory scheme. See, Maryland v. King, 567 U.S. 1301,
  26   1302-1303 (2012) (“Any time a State is enjoined by a court from effectuating
  27   statutes enacted by representatives of its people, it suffers a form of irreparable
  28   injury.” [Internal quotes omitted].); see, also, League of Wilderness Defenders/Blue
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Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3183 Page 13 of 19



   1   Mountains Biodiversity Project v. Connaughton, 752 F3d 755, 766 (9th Cir. 2014)
   2   (public interest element “deserves separate attention in cases where the public
   3   interest may be affected”); see, also, VIP of Berlin, LLC v. Town of Berlin, 593 F.3d
   4   179, 185-186 (2nd Cir. 2010) (“Where a party seeks a preliminary injunction that
   5   challenges ‘government action taken in the public interest pursuant to a statutory or
   6   regulatory scheme’ and that would ‘alter, rather than maintain, the status quo,’ the
   7   moving party must demonstrate irreparable harm and a ‘clear’ or ‘substantial’
   8   likelihood of success on the merits”); Machete Productions, L.L.C. v. Page, 809
   9   F.3d 281, 288 (5th Cir. 2015) (“[E]specially where governmental action is
  10   involved, courts should not intervene unless the need for equitable relief is clear,
  11   not remote or speculative” (quoting Henschen v. City of Houston, 959 F.2d 584,
  12   588 (5th Cir.1992)).
  13         As evidenced in the Declaration of Captain Scott Wahl, the unintended
  14   consequences that accompany vehicle habitation remain a legitimate concern during
  15   the pandemic. See, Declaration of Captain Scott Wahl, paragraph 2. And while the
  16   City is not suggesting that any of the named plaintiffs would comport themselves in
  17   this manner, the problematic aspects of vehicle habitation cannot be ignored. The
  18   newly tailored Vehicle Habitation Ordinance, with its reasonable time, place, and
  19   manner limitations, and its progressive, services-based enforcement, provides front-
  20   line officers a mechanism to curb the problematic aspects of vehicle habitation
  21   while also helping those living out of their cars find useful services.
  22      Moreover, from the inception of the new VHO, the City has used a progressive
  23   enforcement model to encourage individuals to access the safe lots where they can
  24   access services. On April 10, the San Diego Police Department issued a directive to
  25   its officers not to impound vehicles that are being used for habitation during the
  26   crisis. The directive emphasized that officers should refer the occupants of the
  27   vehicle to the City’s Safe Parking Lot Program. See, Declaration of Lilys McCoy,
  28   paragraph 5, and Exhibit 2 referenced therein. Plaintiffs cannot qualify for a
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                                                                                 17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3184 Page 14 of 19



   1   temporary restraining order based on past alleged wrongs; they must show a real
   2   and immediate threat that they will be wronged again. See, City of Los Angeles v.
   3   Lyons, 461 U.S. 95, 102 (1983) (“Past exposure to illegal conduct does not in itself
   4   show a present case or controversy regarding injunctive relief …”); See, also,
   5   Munns v. Kerry, 782 F3d 402, 411 (9th Cir. 2015).
   6      C. The Safe Lots Provide a Reasonable Alternative to the Plaintiffs and
   7         Plaintiffs Have Not Established that The Lots Cannot Accommodate
             Them
   8

   9         The Declaration of Plaintiffs’ own expert Lara Elizabeth Frye, M.D. (ECF
  10   135-4) states in at page 20, paragraph 37 “Congregate parking lots could be a
  11   reasonable option for some people living in vehicles to weather the pandemic under
  12   certain conditions . . .” The May 2020 report from the City’s contractor, attached to
  13   the Declaration of Sarah Jarman as Exhibit 1, affirms that the safe lots are the
  14   “reasonable option” that Dr. Frye writes about. As described above and in Exhibit 1
  15   attached to the Declaration of Sarah Jarman, the City has worked with its Safe Lots
  16   contractor, Jewish Family Services, to provide more space and more services to
  17   those living in their vehicles.
  18         The declarations from the Plaintiffs do not state that they have tried to avail
  19   themselves of the safe lots or their services. Their averments focus on why the safe
  20   lots could be hazardous, without providing proof that they are hazardous. A
  21   preliminary injunction may not be granted based on a “possibility” of irreparable
  22   harm, even if plaintiff demonstrates a strong likelihood of prevailing on the merits.
  23   Again, this is because injunctive relief is “an extraordinary remedy that may only
  24   be awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter
  25   v. Natural Resources Defense Council, Inc., supra, 555 U.S. at 22; Alliance for
  26   Wild Rockies v. Cottrell, 632 F3d 1127, 1131 (9th Cir. 2011); Rodriguez v.
  27   Dzurenda, 2018 WL 7822062 (D. Nevada Dec. 17, 2018) (the four Winter elements
  28   must be met). In his Declaration at page 6, paragraphs 10-11, Doc. 135-9, Mr.
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                                                                               17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3185 Page 15 of 19



   1   Walsh only says that he “looked into” the lots, without providing specifics of
   2   whether he spoke to the social services professionals who have dedicated their
   3   careers to helping individuals such as him. In addition, Mr. Walsh speaks of his
   4   “fears” surrounding the safe lots without pointing to specific facts. Id. Mr.
   5   Chatzky’s Declaration (EFC 135-7) is similarly speculative. In paragraph 6, page 5,
   6   Mr. Chatzky reports being “fearful” and having to “worry” about catching Covid-
   7   19 at the safe lots without pointing to a factual basis for his concerns. His fears,
   8   while sympathetic, are not sufficient to support a motion for a temporary restraining
   9   order. In a similar vein, the declarations do not identify the locations or events
  10   leading up to the interactions with the police, thereby leaving to conjecture whether
  11   there were extenuating circumstances. See, e.g., Hayward Dec., page 4, para. 5,
  12   Doc. 135-8. While these anecdotes might support a lower standard in support of a
  13   different motion, they do not have the weight necessary to support the extraordinary
  14   relief sought in this Motion. See, e.g., American Passage Media Corp. v. Cass
  15   Communications, Inc., 750 F.2d 1470, 1473 (9th Cir. 1985) (conclusory allegations
  16   and affidavits are insufficient to show irreparable harm).
  17         As with the percipient declarations, the declarations by Dr. Frye and
  18   Physician’s Assistant Brett Feldman are based on insufficient facts or data to
  19   support the conclusions they reach. Dr. Frye lives in Atlanta. There is nothing in
  20   her declaration to indicate that she has personally observed the San Diego safe lots
  21   or that she has observed safe lots similar to those run by the City of San Diego. The
  22   same holds true for Mr. Feldman, who is from Los Angeles. Both base their
  23   opinions about Plaintiffs’ need to shelter in vehicles parked on San Diego streets
  24   and public thoroughfares on the Plaintiffs’ declarations without having been made
  25   aware of the countervailing health and safety issues created by some who live in
  26   their vehicles. Only Mr. Feldman spoke to one of the Plaintiffs and neither Mr.
  27   Feldman nor Dr. Frye aver that they examined any of the plaintiffs or read their
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                                                                                17cv2324 AJB-MSB
Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3186 Page 16 of 19



   1   medical records. And, indeed, Dr. Frye agreed that safe lots could be a reasonable
   2   alternative. See, Frye Declaration, paragraph 37.
   3      D. The Request to Compel the City to Open Public Parking Lots Will
   4         Force the City to Violate County Health Orders

   5         “[A]n additional consideration affecting the Court’s determination to grant
   6   injunctive relief is whether or not the terms of the injunction can be stated with
   7   sufficient clarity to permit the injunction to be fairly enforced.” Joyce v. City and
   8   County of San Francisco, 846 F. Supp. 843, 850 (N.D. Cal. 1994). Federal Rule of
   9   Civil Procedure 65(d) states that “[e]very order granting an injunction and every
  10   restraining order must . . . (B) state its terms specifically; and (C) describe in
  11   reasonable detail—and not by referring to the complaint or other document—the act
  12   or acts restrained or required.” Fed. R. Civ. P. 65(d)(B)-(C). This mandate is
  13   designed “to prevent uncertainty and confusion on the part of those faced with
  14   injunctive orders, and to avoid the possible founding of a contempt citation on a
  15   decree too vague to be understood.... [B]asic fairness requires that those enjoined
  16   receive explicit notice of precisely what conduct is outlawed.” Schmidt v. Lessard,
  17   414 U.S. 473, 476 (1974).
  18         The Plaintiffs seek a mandatory injunction to reopen public parking lots,
  19   bathrooms and RV waste disposal stations to people sheltering in vehicles, to take
  20   “sufficient steps” to inform the public that bathrooms and waste disposal stations
  21   are open, and to properly maintain those facilities. This request, while it does not
  22   mention the beach areas, is referencing the public parks and restroom facilities near
  23   the beach. See, e.g., Declaration of David Wilson, page 5, para. 7; see, also,
  24   Declaration of Doug Higgins, page 4, para. 3. The City, however, is bound by the
  25   edicts of the County Department of Health, which has issued a series of health
  26   mandates during the COVID-19 health emergency containing a directive that "all
  27   parking lots at public beaches shall be closed." See, paragraph 13 of the Order of
  28   the Health Officer and Emergency Regulations dated May 1, which is the latest

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Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3187 Page 17 of 19



   1   version of this order (an earlier version also prohibited use of beach parking lots).
   2   The Governor of California has also closed certain beaches and threatened a
   3   statewide beach closure as a response to COVID-19. Thus, any injunction by this
   4   Court to force the City to open its Beach parking lots would be unenforceable. But,
   5   courts refrain from issuing unenforceable injunctions. See, In re Estate of
   6   Ferdinand Marcos Human Rights Litig., 94 F. 3d 539, 545 (9th Cir. 1996).
   7   Moreover, Plaintiffs do not cure this defect by including the language “to the fullest
   8   extent of Defendant’s authority and in cooperation with San Diego County.” In
   9   addition, the Plaintiffs have asked to open “all public parking lots” without
  10   limitation or distinction. Furthermore, the phrase “sufficient steps” also lacks the
  11   specificity and reasonable detail required by Federal Rule of Civil Procedure 65,
  12   subdivision (d).
  13         Furthermore, the City has been responsive—not indifferent—to Plaintiffs’
  14   concerns about access to grey-water disposal and beach bathrooms for those living
  15   in Recreational Vehicles (RVs). First, the City arranged to have the Mission Bay
  16   Park grey-water disposal closest to the freeway opened. Then, the bathroom at De
  17   Anza Cove, near the grey-water station, and one on Mission Blvd. were identified
  18   as particularly useful because they had showers. These bathrooms were open, but
  19   Plaintiffs expressed concern that they were not easily accessible from the right-of-
  20   way. Accordingly, provisions were made to allow for access from the right-of-way
  21   to these bathrooms. See, Declaration of Andrew Field, page 2, paragraph 4; see,
  22   also, Declaration of Lilys McCoy, paragraph 3. Plaintiffs have protested those
  23   efforts citing k-rail, police tape and guards as off-putting. But those precautions
  24   were not to discourage people, especially those in dire need, from accessing the
  25   bathrooms. Rather, those barriers were erected around parks and beach areas to
  26   ensure compliance with State and County Health Orders prohibiting congregating
  27   in recreational areas—again, not to discourage people from using the unlocked and
  28   maintained bathrooms. See, Declaration of Andrew Field, page 2, paragraph 5;
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Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3188 Page 18 of 19



   1   Declaration of Lilys McCoy, paragraph 4. Furthermore, the City of San Diego has
   2   not closed public restrooms during the pandemic, with the exception of those
   3   situations where the bathrooms had been vandalized or required repair. See,
   4   Declaration of Andrew Field, page 2, paragraph 6; see also Declaration of Lilys
   5   McCoy, paragraph 2. In addition, the City has never stopped maintaining or
   6   cleaning its public restrooms. See, Declaration of Andrew Field, page 2, paragraph
   7   6; see, also, Declaration of Lilys McCoy, paragraph 4.
   8          As of May 6, 2020, people were using the greywater dump at Mission Bay,
   9   as well as at least one bathroom with shower facilities near the right-of-way. See,
  10   Declaration of Jessica LaScola, and photographs attached thereto.
  11          Mandatory injunctive relief is subject to heightened scrutiny and should not
  12   be issued unless the facts and law clearly favor the moving party. Dahl v. HEM
  13   Pharmaceuticals Corp., 7 F. 3d 1399, 1403 (9th Cir. 1993); Garcia v. Google, Inc.,
  14   786 F3d 733, 740 (9th Cir. 2015). The request for mandatory injunctive relief to
  15   force the City to open the beach parking lots in violation of County Health Orders
  16   does not meet the level of heightened scrutiny, nor is it necessary.
  17      IV.    CONCLUSION
  18      The City of San Diego has an interest in protecting the entire community of San
  19   Diego from the spread of SARS-CoV-2, not just those experiencing homelessness.
  20   To effectuate that interest, the Mayor declared that San Diego City Employees are
  21   Disaster Service Workers (see Mayor’s Executive Order 2020-2, paragraph 32), and
  22   the employees of the City of San Diego have taken that declaration seriously, doing
  23   remarkable and unprecedented work. A substantial amount of that work has
  24   included creating safe and viable options for those who are unhoused, including
  25   expanding opportunities for those forced to shelter in their cars and RVs. See,
  26   Declarations of Scott Wahl and Sarah Jarman. The Plaintiffs’ accusation of
  27
             2 See, https://www.sandiego.gov/sites/default/files/mkf_executive_order_2020-2-3-30-
  28   2020_1.pdf

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Case 3:17-cv-02324-AJB-MSB Document 138 Filed 05/07/20 PageID.3189 Page 19 of 19



   1   deliberate indifference is simply untrue. For all the reasons state above, Plaintiffs
   2   have failed to prove that the requested temporary restraining order is necessary, and
   3   the City respectfully requests that the Court deny Plaintiffs’ Motion.
   4
             Dated: May 7, 2020                    MARA W. ELLIOTT, City Attorney
   5

   6

   7                                               By s/Lilys D. McCoy
                                                       Lilys D. McCoy
   8                                                   Deputy City Attorney
   9                                               Attorneys for Defendant
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  10                                               Email: lmccoy@sandiego.gov
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